       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 1 of 37



 1   WANGER JONES HELSLEY PC
     265 E. River Park Circle, Suite 310
 2   Fresno, California 93720
     Telephone: (559) 233-4800
 3   Facsimile: (559) 233-9330
 4   Michael S. Helsley #199103
     Patrick D. Toole #190118
 5
     Dylan J. Crosby #299536
 6
     Attorneys for:        Plaintiffs and Proposed Class Representatives BECKY GREER,
 7                         TIMOTHY C. BUDNIK, ROSARIO SAENZ and IAN CARTY

 8
 9                                  UNITED STATES DISTRICT COURT

10                               EASTERN DISTRICT OF CALIFORNIA

11   BECKY GREER; TIMOTHY C. BUDNIK;                         Case No.
     ROSARIO SAENZ; and IAN CARTY,
12   Individually and as “Class Representatives,”            CLASS ACTION
13                    Plaintiffs,                            COMPLAINT FOR DAMAGES,
                                                             INJUNCTIVE AND
14           v.                                              DECLARATORY RELIEF
15   PACIFIC GAS AND ELECTRIC
     COMPANY, and DOES 1 through 10,
16   inclusive,
17                    Defendants.
18
19                    Plaintiffs Becky Greer (“Greer”), Timothy C. Budnik (“Budnik”), Rosario

20   Saenz (“Saenz”) and Ian Carty (“Carty”) (collectively “Plaintiffs”), as individuals, on behalf of

21   themselves and all others similarly situated, complain of Defendant Pacific Gas and Electric

22   Company (“PG&E” or “Defendant”) and each of them, as follows:

23                                                      I.

24                                             INTRODUCTION

25                    1.        This is a class action pursuant to Federal Rule of Civil Procedure 23, on

26   behalf of Plaintiffs and all individuals who hold or held the position of “Customer Service

27   Representative I” currently employed by or formerly employed by Defendant Pacific Gas and

28   ///

     {7608/002/00556569.DOCX}                           1
                                              CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 2 of 37



 1   Electric Company and any subsidiaries or affiliated companies and Does 1 through 50 within

 2   the State of California over the last four (4) years.

 3                    2.        From at least four (4) years prior to the filing of this action continuing to

 4   the present, Defendant has had a consistent policy of failing to pay all wages owed to all

 5   “Customer Service Representative I” personnel for all work performed at the proper rate of

 6   compensation.

 7                    3.        From at least four (4) years prior to the filing of this action, Defendant

 8   had the policy and practice of falsely advertising wages on its website for the position of

 9   Customer Service Representative I.

10                    4.        From at least four (4) years prior to the filing of this action continuing to

11   the present, Defendant has had a consistent policy and practice of failing to abide by the clear

12   terms of the International Brotherhood of Electrical Workers’ Collective Bargaining

13   Agreement and with California Labor Code Section 2014(a) with regard to paying its

14   employees all wages due.

15                    5.        From at least four (4) years prior to the filing of this action continuing to

16   the present, Defendant has had a consistent policy and practice of failing to apply the Clerical

17   Hiring Rate Guidelines in a clear, consistent and equal manner to all Service Representative I

18   personnel.

19                    6.        From at least four (4) years prior to the filing of this action continuing to

20   the present, Defendant has had a consistent policy and practice of knowingly failing, pursuant

21   to the Clerical Hiring Rate Guidelines, to give those Service Representative I personnel with at

22   least 18 months of directly related clerical job experience higher initial wage placement.

23                    7.        From at least four (4) years prior to the filing of this action continuing to

24   the present, Defendant has had a consistent policy of defrauding Plaintiffs and Proposed Class

25   members by causing them to believe that they will receive settlement payouts based on

26   retroactive raises they are owed for work performed based on their prior “directly related

27   clerical job experience.”

28   ///

     {7608/002/00556569.DOCX}                             2
                                               CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 3 of 37



 1                                                      II.

 2                                      JURISDICTION AND VENUE

 3                    8.        This Court has jurisdiction over this action pursuant to 28 U.S.C. section

 4   1331 and 29 U.S.C. section 185(a). This Court also has supplemental jurisdiction over this

 5   action based on 28 U.S.C. section 1367(a).

 6                    9.        Venue is proper in this District pursuant to 28 U.S.C. section 1391(b).

 7                                                      III.

 8                                                  PARTIES

 9   A.      Plaintiffs

10                    10.       Plaintiff Becky Greer resides in Fresno, California. Plaintiff is a current

11   employee of Defendant working in the Fresno, California, Contact Center.

12                    11.       Plaintiff Timothy C. Budnik resides in Fresno, California. Plaintiff is a

13   current employee of Defendant working in the Fresno, California, Contact Center.

14                    12.       Plaintiff Rosario Saenz resides in Gilroy, California.       Plaintiff is a

15   current employee of Defendant working in the San Jose, California, Contact Center.

16                    13.       Plaintiff Ian Carty resides in Fresno, California. Plaintiff is a current

17   employee of Defendant working in the Fresno, California, Contact Center.

18                    14.       Plaintiffs and all similarly situated Customer Service Representative’s

19   with directly related clerical job experience were regularly required to perform the same job

20   functions at a lower rate of pay than either promised by Defendant during the hiring process

21   and/or as identified in the Collective Bargaining Agreement between Defendant and Plaintiffs.

22   B.      Defendant

23                    15.       Defendant Pacific Gas and Electric Company is a corporation organized

24   and existing under the laws of the State of California and maintains its principal place of

25   business in San Francisco, California. Defendant is or was an employer whose employees are

26   and were engaged throughout the State of California.

27                    16.       The true names and capacities, whether individual, corporate, associate,

28   or otherwise, of Defendants used herein as DOES 1 to 10, inclusive, are currently unknown to

     {7608/002/00556569.DOCX}                            3
                                              CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 4 of 37



 1   Plaintiffs who therefore sue Defendants by such fictitious names. Plaintiffs are informed and

 2   believe, and based thereon allege, that each of the Defendants designated herein as DOE is

 3   legally responsible in some manner for the unlawful acts referred to herein. Plaintiff will seek

 4   leave of court to amend this Complaint to reflect the true names and capacities of the

 5   Defendants designated hereinafter as DOES when such identities become known.

 6                    17.       Defendants PG&E and DOES 1 through 10 (collectively referred to

 7   herein as either “Defendants” or “PG&E”), are and at all times alleged herein were “persons”

 8   as defined in California Business & Professions Code section 17201.

 9                    18.       Plaintiffs and Proposed Class are ignorant of the true names, identifies,

10   capacities and relationships of the Defendants sued herein as DOES 1 through 10, inclusive,

11   and therefore sue these Defendants by such fictitious names. Plaintiffs and Proposed Class are

12   informed and believe, and thereon allege, that each of these fictitiously named Defendants are

13   responsible in some manner for the occurrences herein alleged, and that Plaintiffs’ and the

14   Proposed Class’ harm, injury, detriment and damages as herein alleged were proximately

15   caused by DOES 1 through 10. Plaintiffs and Proposed Class will amend this Complaint to

16   allege the true names and capacities of said DOE Defendants when such information is

17   ascertained. Each reference to “Defendants,” and each reference to any particular Defendant

18   herein, shall be construed to refer to all of those fictitiously named herein as “DOE”

19   Defendants, and each of them.

20                                                     IV.

21                                       GENERAL ALLEGATIONS

22           19.      Defendant Pacific Gas and Electric Company, incorporated in California in

23   1905, is one of the largest combination natural gas and electric utilities in the United States.

24   Throughout the Class Period, defined as the four (4) years preceding the filing of this Action,

25   Defendants employed persons within the meaning of California Industrial Welfare

26   Commission (“IWC”) Wage Orders, NUMBERS 1-2001 THROUGH 17-2001, and MW-2014

27   and its predecessors, which are codified in California Code of Regulations (“CCR”), Title 8,

28   Sections 11010 through 11170 (hereinafter collectively referred to as “the Wage Order”).

     {7608/002/00556569.DOCX}                           4
                                              CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 5 of 37



 1           20.      Plaintiffs and Proposed Class are, and at all times pertinent hereto have been

 2   classified as non-exempt, hourly employees by Defendant.            During the Class Period,

 3   Defendants recruited, solicited, hired and employed and furnished employment, and were

 4   employers pursuant to the Wage Order. Though the Proposed Class worked under various

 5   IWC Wage Orders at different times, for the purposes of the claims asserted in this lawsuit, the

 6   IWC Wage Orders contained identical provisions regarding exemptions, minimum wages,

 7   overtime and employer’s obligation to compensate workers for any hours they are “suffered or

 8   permitted to work, whether or not required to do so.” Consequently, the terms of the various

 9   IWC Wage Orders applicable to the Proposed Class for work performed during the Class

10   Period contain no significant variance with respect to the facts, circumstances and legal

11   theories alleged herein.

12           21.      Defendant hired Plaintiffs and Proposed Class who work or worked as

13   “Customer Service Representative I” to handle customer service inquiries and problems via

14   telephone, internet, or written correspondence.

15           22.      Throughout the Class Period, Defendants, and each of them, have directly or

16   indirectly or through an agent or representative exercised control over the wages, hours and/or

17   working conditions of Plaintiffs and the Proposed Class and engaged, suffered and/or permitted

18   Plaintiffs and the Proposed Class to work.

19           23.      Throughout the Class Period, Plaintiffs and Class Members were employees

20   under the California Labor Code and were non-exempt from the protections of the provisions

21   of the Labor Code referenced herein and from the protections of the Wage Order.

22   Customer Service Representative I Hiring Process

23           24.      Defendant posted job openings within its company or on its company website,

24   including those for “Customer Service Representative I.”

25           25.      Defendant’s job postings for Customer Service Representative I advertised an

26   entry level hourly wage of $23.88 per hour.

27   ///

28   ///

     {7608/002/00556569.DOCX}                          5
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 6 of 37



 1           26.      Applicants who saw the posting reasonably believed and relied on the statement

 2   that their starting hourly wage would be, at a minimum, $23.88 per hour and commensurate

 3   with their professional experience.

 4           27.      Plaintiffs and Proposed Class, relying on the Defendant’s representations of the

 5   Customer Service Representative I hourly wage and benefits completed Defendant’s online

 6   application for the positions.

 7           28.      Defendant’s online application questioned applicants regarding their customer

 8   service experience, but did not specifically ask whether applicants had call center experience.

 9           29.      Plaintiffs and Proposed Class all had previous experience ranging from at least

10   six (6) months of customer service experience to greater than two (2) years experience.

11           30.      Applicants, including Plaintiffs and Proposed Class, still under consideration

12   after their online application were required by Defendant to complete a basic skills test

13   (Clerical Test Battery), which tested basic math, reading, and personality. Plaintiffs and

14   Proposed Class, relying on Defendant’s representations regarding the position’s wage and

15   benefits, completed the Clerical Test Battery.

16           31.      Defendant then required remaining applicants, including Plaintiffs and Proposed

17   Class, to complete a phone interview with a PG&E employee. Plaintiffs and Proposed Class,

18   relying on Defendant’s representations regarding the position’s wage and benefits, completed

19   the phone interview.

20           32.      Defendant then required remaining applicants, including Plaintiffs and Proposed

21   Class, to complete an in-person interview before a panel of three (3) PG&E interviewers,

22   which included a mock phone call to test customer service skills as well as situational

23   interview questions. Plaintiffs and Proposed Class, relying on Defendant’s representations

24   regarding the position’s wage and benefits, completed the in-person interview.

25           33.      Plaintiffs and Proposed Class were subsequently offered positions at PG&E as

26   Customer Service Representative I personnel at various Contact Centers. First, Plaintiffs and

27   Proposed Class were notified of the offer of employment by telephone call. During that call

28   Plaintiffs’ and the Proposed Class were notified that instead of being paid the advertised hourly

     {7608/002/00556569.DOCX}                         6
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 7 of 37



 1   wage of $23.88, the rate of pay was actually $18.36 per hour. The difference is $5.52 (or over

 2   20%) less than promised and reasonably relied on by Plaintiffs and the Proposed Class.

 3   However, Plaintiffs and the Proposed Class were told that higher rates of pay would apply

 4   based on previous experience.

 5           34.      Second, the verbal offer of employment was followed up in a writing by way of

 6   email or letter to Plaintiffs and the Proposed Class. In each of the writings, Defendant stated

 7   the hourly rate of “$18.76 per hour.” However, the writings also made further, and false,

 8   representations that higher rates of pay were available to those who satisfy the criteria

 9   described as the Clerical Hiring Rate Guidelines for Service Representative I Personnel.

10           35.      Plaintiffs and Proposed Class were encouraged to accept the “offer” on the spot,

11   and in no case were Plaintiffs and the Proposed Class given more than 24 hours to decide

12   whether or not they would take the position.

13           36.      Plaintiffs and Proposed Class had no bargaining power once offered their

14   position, they were pressured to accept the offer immediately. Plaintiffs and Proposed Class,

15   after such exhaustive efforts to obtain their offers of employment, and feeling pressure from

16   the offerors, accepted their positions with Defendant despite the lower wage because, based on

17   the oral and written representations of Defendant, they expected their pay to be adjusted

18   according to their experience and in accordance with the Clerical Hiring Rates Guidelines.

19   Clerical Hiring Rate Guidelines for Service Representative I Personnel

20           37.      Plaintiffs and Proposed Class’s expectations that their pay would be adjusted

21   according to their experience were based on oral and written representations of Defendant,

22   including the employment offer letters stating: “Your base salary may be increased as detailed

23   in the International Brotherhood of Electrical Workers (IBEW) Collective Bargaining

24   Agreement.”

25           38.      The IBEW Collective Bargaining Agreement contains “Clerical Hiring Rate

26   Guidelines,” which state, in no uncertain terms, that: “The following hiring rate guidelines

27   apply to clerical employees hired under the Agreement:

28   ///

     {7608/002/00556569.DOCX}                         7
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 8 of 37



 1                    1.) An employee with less than 6 months of directly
                      related clerical job experience will be hired at the starting
 2                    rate of the applicable clerical classification. An employee
 3                    with 6 months, but less than 12 months directly related
                      clerical job experience, will be hired at the 6-month rate of
 4                    the applicable clerical classification. An employee with 12
                      to 18 months directly related clerical job experience, will
 5                    be hired at the one-year rate of the applicable clerical
 6                    classification. An employee with 18 to 24 months directly
                      related clerical job experience, shall be hired at the 18-
 7                    month rate of the applicable clerical classification. An
                      employee with 18 to 24 months directly related clerical job
 8                    experience, shall be hired at the 18-month rate of the
 9                    applicable clerical classification. An employee, other than
                      Utility Clerk, with 2 years or more directly related clerical
10                    job experience, shall be hired at the 24-month rate of the
                      applicable clerical classification. A Utility Clerk with 24 to
11                    30 months directly related clerical job experience, shall be
                      hired at the 24-month rate of the Utility Clerk. A Utility
12
                      Clerk with 30 months directly related job experience, shall
13                    be hired at the 30-month rate of the Utility Clerk.”

14           39.      Plaintiffs and Proposed Class members with experience above and beyond the

15   $18.36 pay grade. As such, Plaintiffs and the Proposed Class reasonably expected that their

16   hourly wage would be raised commensurate with their experience to at least the higher rate of

17   $23.88 an hour.

18           40.      The cover letter to the IBEW Collective Bargaining Agreement, written by

19   Stephen A. Rayburn, Director and Chief Negotiator, Labor Relations for Defendant, further

20   provided explicit wage steps for Service Representative I personnel in 2011:

21                    “Start         $18.00
                      End 18 Mo      $22.50
22                    End 3 Yr       $27.00
                      End 54 Mo.     $ 34.78”
23
24   This amount was to increased by two percent (2.0%) each year through December 31, 2014.

25           41.      Plaintiffs and Proposed Class subsequently worked for Defendant, fulfilling

26   their duties as Customer Service Representatives I.

27   ///

28   ///

     {7608/002/00556569.DOCX}                          8
                                            CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 9 of 37



 1           42.      Defendant intentionally and willfully disregarded the language of the Collective

 2   Bargaining Agreement and its decision-making personnel did not hire or raise Plaintiffs and

 3   Proposed Class’s wages commensurate with their experiences.

 4           43.      On November 24, 2013, Doug Veader, Chairman of the Review Committee,

 5   Director of Labor Agreements for Defendant, and F.E. (Ed) Dwyer, Jr., Secretary of the

 6   Review Committee, of IBEW, issued a letter entitled “Pre-Review Committee Number 21052

 7   Customer Care—Contract Center Operations –Various Locations,” sent to Chris Diamond of

 8   PG&E and Arlene Edwards of IBEW. This letter was disseminated to Plaintiffs and the

 9   Proposed Class at a later date. The subject of this grievance was the application of the Clerical

10   Hiring Rate Guidelines to the Service Representative I classification, already reproduced

11   above. In relevant part, the letter stated:
                    “The Clerical Hiring Rate Guidelines of Exhibit A provide for the
12                  hiring of employees with ‘directly related clerical job experience’
                    at other than the starting wage rate for certain entry level
13
                    classifications. When the Service Representative I Classification
14                  was negotiated, the parties agreed that the Hiring Guidelines were
                    applicable.
15
                      “At the time this grievance was filed, the Contact Center
16
                      management was defining ‘directly related clerical job experience’
17                    as having held the Customer Service Representative classification
                      at PG&E within the previous 12 months, and with at least 18
18                    months of PG&E Contact Center work experience. Only
                      individuals who met those criteria would be placed at the 18 month
19                    wage step.
20
                      “Discussion[:] The Committee agrees that the definition which was
21                    being used at the time of this grievance did not comply with the
                      Hiring Guidelines. Limiting credit to PG&E Contact Center
22                    experience within the last 12 months is more restrictive than the
23                    agreed to language in Exhibit A. The Guidelines were never
                      intended to limit prior experience to only prior PG&E experience.
24                    Also, the guidelines specify that credit will not be given for jobs
                      held prior to a give year break, and do not limit credit for work
25                    within the past 12 months.
26
                      “While Exhibit A does provide some guidance, it does not clearly
27                    define what constitutes ‘directly related clerical job experience’.
                      The intent of the language is to provide higher initial wage
28                    placement for individuals who bring directly related experience
     {7608/002/00556569.DOCX}                         9
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 10 of 37


                      and knowledge which allows them to perform at a more
 1                    experienced (and higher paid) level of work….
 2
                      “During the processing of this grievance, the Call Center
 3                    management revised its criteria of directly related clerical
                      experience to include: ‘Customer service work in a call center
 4                    environment where the nature of the work and complexity of the
                      billing, systems, and rules is comparable to that at a PG&E Contact
 5
                      Center…
 6
                      “Employees who are hired into the Service Representative I
 7                    classification within 18 months or more of verifiable work
                      experience as defined above should be placed at the 18 month rate
 8                    step.
 9
                      “As guidance in the application of the Exhibit A Hiring Rate
10                    Guidelines, the Committee discussed examples of job experience
                      which would or would not be considered as directly related. The
11                    Committee did not include examples of job experiences which are
12                    specifically excluded from consideration under the guidelines (e.g.
                      non-clerical, retail sales, and banking). The examples assume at
13                    least 18 months of the verifiable work experience, which did not
                      precede a five-year break in employment, and are not intended to
14                    be all inclusive
15
                                “AT&T Call Center Customer Service Representative
16                              responsible for answering customer requests or inquiries
                                concerning services, products, billing, and usage.
17                              Explaining customer’s bill and recommending rate plans
18                              based on customer’s usage, and establishing payment
                                arrangements within established guidelines.
19
                                “Comcast Call Center Customer Service Representative
20                              responsible for answering customer requests or inquiries
21                              concerning services, products, billing, and usage.
                                Explaining customer’s bill and recommending rate plans
22                              based on customer’s usage, and establishing payment
                                arrangements within established guidelines.
23
                      “The above examples are considered as directly related as the
24
                      nature and extent of the work and complexity of the billing,
25                    systems, and rules are comparable to that at a PG&E Contact
                      Center.” [emphasis added]
26
27           44.      Until November of 2013, when a grievance was filed by Customer Service
28   Representative I personnel, by Defendant’s own admission, Defendant’s Contact Center
     {7608/002/00556569.DOCX}                          10
                                             CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 11 of 37



 1   management, where Plaintiffs and Proposed Class worked, had uniformly defined “directly

 2   related clerical job experience” as having held a Customer Service Representative

 3   classification with Defendant within the previous 12 months and having at least 18 months of

 4   PG&E contact work experience to be placed at the 18 month wage step.

 5           45.      Based on the information provided by the grievance, Plaintiffs and Proposed

 6   Class, on information and belief, reasonably believe that a small number of Customer Center

 7   management officers were making executive decisions with regard to how much Plaintiffs and

 8   Proposed Class would be paid without regard to the actual evidence of experience of each

 9   person. In other words, Defendant has a “predetermined” amount of money to spend and “pre-

10   selected” persons to receive that money in an arbitrary and capricious manner.

11           46.      The Pre-Review Committee letter, quoted above, remanded remaining disputes

12   to the Local Investigating Committee for Resolution.

13           47.      Plaintiffs and Proposed Class were not informed of the November 2013

14   grievance until December 15, 2014. On that day, Scott Sanford, Senior Director of Customer

15   Service for Defendant sent an email to Plaintiffs and Proposed Class, referencing the 2013 Pre-

16   Review Committee letter and recognizing that certain other Customer Service Representative I

17   personnel would have the same grievance as the subject of the November 2013 grievance. The

18   message stated in relevant part:

19
                      “With the 2011 Clerical Agreement, it was agreed to establish a
20                    new beginner’s level classification: Service Representative I. The
                      wage rate schedule for the classification consists of four steps:
21
                      Starting, 18 months, 3-year and 54 months. The Clerical Hiring
22                    Guidelines of Exhibit A provided for the hiring of employees with
                      ‘directly related clerical job experience’ to be hired in at a pay rate
23                    other than the starting wage rate. When the Service Representative
                      I classification was negotiated, the Union, Senior Leadership, and
24                    our HR Partners agreed that the Hiring Guidelines were applicable.
25
                      At the time the grievance was filed, the Contact Center
26                    management was defining ‘directly related clerical job experience’
                      as having held the Customer Service Representative classification
27                    at PG&E within the previous 12 months, and with at least 18
28                    months of PG&E Contact Center work experience. Only

     {7608/002/00556569.DOCX}                          11
                                            CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 12 of 37


                      individuals who met this criteria, as communicated on the
 1                    individual’s resume/application, would be placed at the 18 month
                      wage step. With the settlement, Call Center management revised
 2
                      its criteria of directly related clerical experience to include:
 3                    ‘Customer service work in a call center environment where the
                      nature of the work and complexity of the billing, systems, and
 4                    rules is comparable to that at a PG&E Contact Center. Such work
                      experience would need to include identifying and resolving
 5
                      customer inquiries on all phases of customer service (i.e., service
 6                    billing and credit)’. The Committee agreed that the revised
                      application complied with the Hiring Guidelines and the intent as
 7                    described above. The Committee noted that the last sentence
                      comes directly from the Company/Union negotiated Benchmark
 8                    Duty Statement 5066. Employees who are hired into the Service
 9                    Representative I classification with 18 months or more of
                      verifiable work experience as defined above should be placed at
10                    the 18 month wage step.
11                    To settle the grievance, resumes of all employees hired from
12                    1/1/2011 through 12/1/2014 were reviewed and considered jointly,
                      between Company and Union, as outlined in PRC 21052 [the
13                    November 2013 grievance]. For purposes of the settlement the
                      initial resume submitted with the application for hire was utilized
14                    for eligibility determination. And as a result of the review, only a
15                    limited number of candidates qualified under specific
                      interpretation of relevant experience qualification standards
16                    outlined in PRC 21052. Those individuals will be addressed and
                      their pay will be corrected as agreed to in the settlement, and all
17                    decisions regarding candidates hired during this time are final.”
18           48.      Plaintiff and Proposed Class members reasonably believed that Scott Sanford,
19   cooperating with the Review Committee, had or will fairly and thoroughly review all resumes
20   to make settlement payout decisions on behalf of Defendant.
21           49.      Defendant, despite protestation by certain members of the Proposed Class with
22   the required call center experience, did not consult any other sources of information in
23   reviewing documents. PG&E did not interview any Customer Service Representative I
24   personnel nor did it look at previous applicant records to ascertain the correct classification.
25   Plaintiffs and Proposed Class, on information and belief, contend that Defendant destroyed the
26   remainder of their application records.
27           50.      Plaintiffs and Proposed Class, on information and belief, allege that Defendant
28   subsequently “cherry-picked” through resumes, determining, without following-up with
     {7608/002/00556569.DOCX}                         12
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 13 of 37



 1   Plaintiffs and Proposed Class, based on arbitrary terminology used in the reviewed resumes

 2   which employees did and did not qualify for the settlement payouts.

 3           51.      In or about late-December 2014, PG&E issued settlement payouts to

 4   approximately thirty (30) Customer Service Representative I employees.

 5           52.      After the initial settlement decisions and payouts, PG&E received complaints

 6   from other Customer Service I personnel who believed that they had been incorrectly denied

 7   their settlement payout based on their prior directly related clerical experience. This outcry by

 8   PG&E Customer Service Representative I personnel led to a second review of resumes in April

 9   2015. At that time, Plaintiffs’ allege in information and belief that an additional 100 settlement

10   payouts were made in or around May 2015.

11           53.      In notifying Plaintiffs of PG&E’s decisions, Scott Sanford, Defendant’s Senior

12   Director of Customer Service, wrote in May 2015 that “the decisions made by the union and

13   company are final” and that no additional settlement payouts would be awarded.

14           54.      Defendant has refused Plaintiffs and Proposed Class members’ attempts to file

15   timely, additional grievances on May 29, 2015. Accordingly, Plaintiffs and Proposed Class

16   have exhausted all administrative remedies.

17           55.      During the Class Period, Defendants maintained and enforced a uniform policy

18   by which they regularly and consistently failed to provide Plaintiffs and Proposed Class with

19   complete and accurate itemized wage statements stating the total hours worked, gross wages

20   earned, net wages earned, all applicable rates of pay and the corresponding number of hours

21   worked under each rate, all deductions, and accurate accounting for all hours worked and

22   wages paid to Plaintiffs and Proposed Class. Defendants also failed to record in ink or other

23   identifiable form all deductions from wages showing the month, day and year, and failed to

24   keep a copy of the statements and records of deductions for three years at the place of

25   employment or at a central location in the State of California.

26           56.      During the Class Period, Defendants maintained and enforced a uniform policy

27   by which they regularly and consistently violated California Labor Code section 204 and the

28   Wage Order by failing to pay Plaintiffs and Proposed Class for all hours worked.

     {7608/002/00556569.DOCX}                        13
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 14 of 37



 1           57.       During the Class Period, Defendants maintained and enforced a uniform policy

 2   by which they regularly and consistently violated California Labor Code sections 201, 202 and

 3   203 by failing to pay Plaintiffs and Proposed Class all unpaid wages within 72 hours after they

 4   voluntarily resigned their employment, or, when their employment was involuntarily

 5   terminated, immediately on their last day of employment. If an employer willfully fails to pay

 6   an employee all unpaid wages within the requisite time period, the employer must pay the

 7   employee a penalty in the amount of up to 30 days wages, called “a waiting time penalty.”

 8           58.       At all times relevant herein, as a result of the aforementioned specific actions,

 9   Plaintiffs assert that Plaintiffs and the Proposed Class worked for Defendants without being

10   paid all wages on time and without having been provided with complete and accurate wage

11   statements as required by law.

12           59.       As a result of the aforementioned specific actions, Plaintiffs assert that

13   Defendants had in existence a consistent and uniform policy of failing to provide Plaintiffs and

14   Proposed Class compensation in full when due and payable for all hours worked in accordance

15   with California law.

16           60.       Plaintiffs are informed and believe, and thereon allege, that Defendants knew or

17   should have known that Plaintiffs and Proposed Class were entitled to receive all wages in full

18   when due and payable in accordance with California law.

19           61.       As a result of the aforementioned specific actions, Plaintiffs assert that

20   Defendants had in existence a consistent and uniform policy of failing to pay Plaintiffs and the

21   Proposed Class all compensation owed immediately upon termination in accordance with

22   California law.

23           62.       Plaintiffs and Proposed Class are informed and believe, and thereon allege, that

24   at all times herein mentioned, Defendants were advised by skilled lawyers and other

25   professional, employees and advisors knowledgeable about California labor and wage law,

26   employment and personnel practices, and about the requirements of California law. Plaintiffs

27   and Proposed Class are informed and believe, and thereon allege, that at all times during the

28   Class Period, Defendants knew or should have known that they had a duty to compensate

     {7608/002/00556569.DOCX}                          14
                                            CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 15 of 37



 1   Plaintiffs and Proposed Class, and that Defendants had the financial ability to pay such

 2   compensation, but willfully, knowingly and intentionally failed to do so, and falsely

 3   represented to Plaintiffs and Proposed Class that they were properly denied wages, all in order

 4   to increase Defendants’ profits.

 5           63.      Plaintiffs and the Proposed Class are informed and believe, and thereon allege

 6   that Defendants knew or should have known that Plaintiffs and Proposed Class were entitled to

 7   receive certain wages for all work done by them, and that they were not receiving wages for

 8   such work.

 9           64.      Defendants knew or should have known that, throughout the Class Period,

10   Plaintiffs and Proposed Class were performing work as alleged throughout this Complaint, that

11   Plaintiffs and Proposed Class were entitled to the payment of wages for such work and that

12   Plaintiff and Proposed Class were in fact receiving no wages for such work. Moreover,

13   Defendants knew or should have known that they were required to document the time involved

14   in the performance of such work, maintain a written record of such time, include such time and

15   corresponding wage rates for such time in wage statements as required in Labor Code section

16   226, calculate gross and net wages for such time and include such calculates in the wage

17   statement required by Labor Code section 226. Defendants further knew or should have

18   known that they were required to maintain written records of wages earned for such time, pay

19   wages to Plaintiffs and Proposed Class for such time and distribute a wage statement to them,

20   including references to such time and wages earned therefor. Nevertheless, throughout the

21   Class Period Defendants repeatedly, as a matter of policy applied uniformly to all Proposed

22   Class, failed and refused to record such time and the wages owed thereor; maintain records of

23   such time and the gross and net wages earned for such time in the wage statements distributed

24   to Plaintiffs and Proposed Class; and pay wages to Plaintiffs and the Class Members for such

25   time.

26           65.      Plaintiffs and Proposed Class bring this action pursuant to the Labor Code, 8

27   CCR section 11040 and the Wage Order seeking unpaid compensation, penalties, attorneys’

28   fees and costs, injunctive and other equitable relief.

     {7608/002/00556569.DOCX}                         15
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 16 of 37



 1           66.      Plaintiffs bring this action pursuant to Business & Professions Code sections

 2   17200-17208, seeking injunctive relief, restitution, and disgorgement of all benefits Defendants

 3   enjoyed from their failure to provide hourly wages.

 4                                                     V.

 5                                  CLASS ACTION ALLEGATIONS

 6           67.      Plaintiffs bring this action on behalf of themselves and all other persons

 7   similarly situated as a Class Action pursuant to Federal Rule of Civil Procedure, Rule 23.

 8           68.      Plaintiffs initially delineate the subclasses as follows:

 9                    Six (6) Month Subclass: All persons who are employed or have been employed
                      by PG&E as Customer Service Representative I personnel who had greater than
10                    six (6) months of directly related clerical job experience, but were hired at the
                      starting rate for Customer Service Representatives.
11
                      One (1) Year Subclass: All persons who are employed or have been employed
12                    by PG&E as Customer Service Representative I personnel who had greater than
                      one (1) year of directly related clerical job experience, but were hired at the
13                    starting rate for Customer Service Representatives.

14                    Eighteen (18) Month Subclass: All persons who are employed or have been
                      employed by PG&E as Customer Service Representative I personnel who had
15                    greater than eighteen (18) months of directly related clerical job experience, but
                      were hired at the starting rate for Customer Service Representatives.
16
                      Two (2) Year Subclass: All person who are employed or have been employed
17                    by PG&E as Customer Service Representative I personnel who had greater than
                      two (2) years of directly related clerical job experience, but were hired at the
18                    starting rate for Customer Service Representatives.

19
20   Plaintiffs reserve the right to amend or modify the Subclass descriptions with greater

21   specificity or further division into subclasses or limitation to particular issues. Collectively, the

22   preceding Subclasses are referred to herein as “Proposed Class.”

23   A.      Numerosity:

24           69.      The members of the Proposed Class are so numerous that joinder of all of the

25   members of the Proposed Class is impracticable. While the precise number of Proposed Class

26   Members has not been determined at this time, Plaintiff is informed and believes that

27   Defendant currently employs, and during the relevant time periods employed over 900

28   members of the Proposed Class at any given time.

     {7608/002/00556569.DOCX}                           16
                                             CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 17 of 37



 1           70.      Plaintiffs allege that Defendant’s employment records would provide

 2   information as to the number and location of all Proposed Class members. Joinder of all

 3   members of the Proposed Class is not practicable.

 4   B.      Commonality and Predominance:

 5           71.      There are questions of law and fact common to the Proposed Class that

 6   predominate over any questions affecting only individual Proposed Class Members. The

 7   common questions of law and fact include, without limitation:

 8                    a.        Whether Defendant has or at the relevant time periods had a policy or

 9   practice of misclassifying Plaintiffs and Proposed Class as Customer Service Representative I

10   personnel with less than 6 months of experience, and so hiring them at the starting rate for the

11   Customer Service Representative I position where Plaintiffs and Proposed Class had greater

12   than six (6) months, one (1) year, eighteen (18) months or two (2) years of prior “directly

13   related clerical job experience.”

14                    b.        Whether Defendant had a policy or practice of failing to pay all wages

15   owed to Plaintiffs and Proposed Class as required by Labor Code Section 204(a).

16                    c.        Whether Defendant had a policy or practice of failing to pay all wages

17   owed to Proposed Class that was either terminated or had resigned as required by Labor Code

18   Section 203.

19                    d.        Whether Defendant breached its contract with Plaintiff and Proposed

20   Class members when Defendant hired Plaintiff and Proposed Class members at the starting rate

21   of Customer Service Representative I personnel.

22                    e.        Whether Defendant breached its contract with Plaintiff and Proposed

23   Class members when it announced it would review Plaintiff and Proposed Class members’

24   resumes and award settlement payouts to misclassified personnel who were paid the starting

25   wage for Customer Service Representative I and then subsequently failed to do so in

26   November and December 2014.

27                    f.        Whether Defendant subsequently continued to breach its contract with

28   Plaintiff and Proposed Class members when it again announced it would review Plaintiff and

     {7608/002/00556569.DOCX}                          17
                                             CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 18 of 37



 1   Proposed Class members’ resumes and award settlement payouts to misclassified personnel

 2   who were paid the starting wage for Customer Service Representative I and then again

 3   subsequently failed to do so in April and May 2015.

 4                    g.        Whether Defendant, in stating that it would pay Customer Service

 5   Representative I personnel $23.88 on its website, made that promise with no intent to fulfill it.

 6                    h.        Whether Defendant had a policy or practice of intentionally falsely

 7   advertising on its website that it would pay Customer Service Representative I personnel

 8   $23.88.

 9                    i.        Whether Defendant promised Plaintiff and Proposed Class members that

10   they, as Customer Service Representative I personnel, would receive settlement payouts as a

11   result of their misclassification with no intent to fulfill that promise.

12   C.      Typicality:

13                    72.       The claims of Plaintiffs are typical of the claims of the Proposed Class.

14   Plaintiffs and all members of the Proposed Class sustained injuries and damages arising out of

15   and caused by Defendants’ common course of conduct in violation of laws, regulations that

16   have the force and effect of law, and statutes alleged herein.

17   D.      Adequacy of Representation:

18                    73.       Plaintiffs will fairly and adequately represent and protect the interest of

19   the members of the Proposed Class. Counsel who represent Plaintiffs and the Proposed Class

20   are competent and experienced in litigating large employment class actions such as this.

21   E.      Superiority:

22                    74.       A class action is superior to other available means for the fair and

23   efficient adjudication of this controversy. Individual joinder of all Proposed Class Members is

24   not practicable. And questions of law and fact common to the Proposed Class predominate

25   over any questions affecting only individual members of the Proposed Class. Each member of

26   the Proposed Classes has been damaged and is entitled to recovery by reason of Defendant’s

27   breach of contract, illegal policy and/or practice of failing to pay Plaintiffs the wage they are

28   owed, and its fraudulent promises it had no intent to perform.

     {7608/002/00556569.DOCX}                            18
                                              CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 19 of 37



 1           75.      Class action treatment will allow those similarly situated person to litigate their

 2   claims in the manner that is most efficient and economical for the parties and the judicial

 3   system. Plaintiffs are unaware of any difficulties that are likely to be encountered in the

 4   management of this action that would preclude its maintenance as a class action.

 5                                                    VI.

 6                                         CAUSES OF ACTION

 7                                      FIRST CAUSE OF ACTION

 8                                          (Breach of Contract)

 9           76.      Plaintiffs, on behalf of themselves and the Proposed Class, reallege and

10   incorporate by reference all previous paragraphs.

11           77.      At all times material herein, Plaintiffs and all other similarly situated individuals

12   agreed to work for Defendant. Defendant agreed to pay them wages based on the terms of the

13   IBEW Collective Bargaining Agreement and to comply with California’s Labor Code as basic

14   terms of their employment. Plaintiffs performed their obligations under such contracts which

15   entitled them to seek enforcement of the contract.

16           78.      As alleged herein and within the applicable statutes of limitations with respect

17   to the enforcement of the contracts, Defendant breached these agreements by failing to provide

18   Plaintiffs with all the wages they were due based on their “directly related clerical job

19   experience.”

20           79.      Defendant has also breached its contract in failing to fulfill its written promise

21   to Plaintiffs and Proposed Class to award those misclassified Customer Service Representative

22   I personnel with settlement payouts arising from their misclassification as employees without

23   the requisite “directly related clerical job experience.

24           80.      After promising once to award settlement payouts to misclassified Customer

25   Service Representative I personnel, Defendant once again breached its contract with Plaintiffs

26   and Proposed Class by once again going through its uneven and arbitrary process of perusing

27   Plaintiffs and Proposed Class’s resumes and still not awarding Plaintiffs and Proposed Class

28   the settlement payouts and raises they are owed.

     {7608/002/00556569.DOCX}                          19
                                            CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 20 of 37



 1           81.      As a result of Defendant’s conduct that has resulted in some employees with

 2   comparable experience receiving settlement payouts, Plaintiffs and Proposed Class have been

 3   harmed by the withholding of their wages rightfully owed and earned. In addition, Plaintiffs

 4   and Proposed Class have suffered emotional distress and financial hardship due to Defendant’s

 5   withholding of their rightfully owed and earned wages.

 6           82.       Within the applicable time period prior to the filing of this complaint up

 7   through and including the present date through adjudication, Defendant’s conduct as alleged

 8   herein has injured Plaintiffs and all similarly situated individuals by depriving them of the

 9   benefit of their bargain: i.e., all wages due as a result of their employment. Plaintiffs and all

10   other similarly situated individuals are entitled to damages in the form of unpaid wages for

11   Defendant’s breach of contract as provided by the applicable law of California.

12           83.      Defendant also breach the duty of good faith and fair dealing by making policies

13   and using practices and procedures which resulted in its failure to pay its employees all wages

14   when due under the IBEW Collective Bargaining Agreement.

15                                   SECOND CAUSE OF ACTION

16                         (Breach of Covenant of Good Faith and Fair Dealing)

17           84.      Plaintiffs, on behalf of themselves and the Proposed Class reallege and

18   incorporate by reference all previous paragraphs.

19           85.      Implied in the parties contractual relationship was and is a covenant of good

20   faith and fair dealing wherein PG&E coveted that they would, in good faith, and in the exercise

21   of fair dealing, deal with the Plaintiffs and the Proposed Class fairly and honestly. This

22   implied covenant requires that PG&E to perform all acts necessary to effectuate the contract

23   between the parties and to do nothing to impair, interfere with, hinder, or potentially injure the

24   rights of the Plaintiffs and the Proposed class to receive the benefit of said contract.

25           86.      The Plaintiffs and the Proposed Class have performed all conditions, covenants,

26   and promises imposed upon it under the terms of the IBEW Collective Bargaining Agreement,

27   with the exception of those conditions, covenants, and promises that Plaintiffs and the

28   Proposed Class were prevented or excused from performing by PG&E.

     {7608/002/00556569.DOCX}                         20
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 21 of 37



 1           87.      Specifically, Plaintiffs and the Proposed Class have performed all duties

 2   required of Customer Service Representative I personnel under the IBEW Collective

 3   Bargaining Agreement.

 4           88.      PG&E, however, breached the covenant of good faith and fair dealing inherent

 5   in the IBEW Collective Bargaining Agreement, and unfairly interfered with the Plaintiffs and

 6   the Proposed Class’s right to receive benefits under the IBEW Collective Bargaining

 7   Agreement by, inter alia, (A) representing in the job application and hiring process that a

 8   Customer Service Representative I personnel would be paid an hourly wage of $23.88 then

 9   once offered the job given a take it or leave it hourly wage of $18.36; (B) not adjusting hourly

10   wage of those Customer Service Representative I personnel with directly related clerical job

11   experience in accordance with the IBEW Collective Bargaining Agreement; (C) promising to

12   award settlement payouts to misclassified Customer Service Representative I personnel in

13   November and December 2014 and then failing to do so; and (D) preselecting which Customer

14   Service Representative I personnel it would award the settlement payout to based on a

15   predetermined dollar amount it would altogether award based on the misclassification of its

16   employees.

17           89.      As a direct and proximate result of the foregoing, the Plaintiffs and Proposed

18   Class have suffered and will continue to suffer damages in an amount in excess of the

19   jurisdictional minimum of this Court and according to proof at trial.

20                                    THIRD CAUSE OF ACTION

21                                         (Declaratory Relief)

22           90.      Plaintiffs, on behalf of themselves and the Proposed Class reallege and

23   incorporate by reference all previous paragraphs.

24           91.      Declaratory relief is appropriate under California Code of Civil Procedure

25   section 1060.

26           92.      An actual controversy has arisen and now exists between Plaintiffs the Proposed

27   Class and Defendants concerning their respective rights and duties with respect to the IBEW

28   Collective Bargaining Agreement.

     {7608/002/00556569.DOCX}                        21
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 22 of 37



 1           93.      Specifically, Plaintiffs and the Proposed Class claim that Defendant is required

 2   to adjust the hourly wage of those Customer Service Representative I personnel with directly

 3   related clerical job experience in accordance with the IBEW Collective Bargaining Agreement.

 4   Defendant disagrees and contends that it has already adjusted those Customer Service

 5   Representative I personnel with directly related clerical job experience in accordance with the

 6   IBEW Collective Bargaining Agreement

 7           94.      Therefore, Plaintiff and Proposed Class request a judicial determination of its

 8   rights and duties with respect to IBEW Collective Bargaining Agreement and, including a

 9   declaration that Defendant is required to adjust the hourly wage of those Customer Service

10   Representative I personnel with directly related clerical job experience in accordance with the

11   IBEW Collective Bargaining Agreement

12           95.      Such declaration is necessary and appropriate at this time because the Plaintiffs

13   and the Proposed Class are not being paid all wages due and owing to them, and Plaintiffs and

14   the Proposed Class will be irreparably injured, and will continue to suffer irreparable injury

15   until such time as such declaration is made.

16                                   FOURTH CAUSE OF ACTION

17                        (Failure to Pay Wages in Violation of Labor Code § 204)

18           96.      Plaintiffs, on behalf of themselves and the Proposed Class, reallege and

19   incorporate y reference all previous paragraphs

20           97.      Labor Code section 204 requires an employer to pay its employees all wages

21   earned by any person in any employment twice during each calendar month, on days

22   designated in advance by the employer as the regular paydays.

23           98.      Plaintiffs and the Proposed Class were forced to work on a regular and

24   consistent basis at a wage that was less than their “directly related clerical experience” called

25   for as Customer Service Representative I personnel under the IBEW Collective Bargaining

26   Agreement.

27           99.      During the Class Period and continuing to present, Defendant failed to pay

28   Plaintiffs and Proposed Class wages for all hours worked.

     {7608/002/00556569.DOCX}                         22
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 23 of 37



 1           100.     During the Class Period and continuing to present, Defendant failed to pay

 2   Plaintiffs and Proposed Class wages earned and therefore violated Labor Code section 204.

 3           101.     Plaintiff and Proposed Class are entitled to recover all damages, penalties and

 4   other remedies available for violation of Labor Code section 204.

 5                                    FIFTH CAUSE OF ACTION

 6                              (Failure and Refusal to Pay Agreed Wages)

 7   (California Labor Code §§ 201, 202, 204, 216, 218, 221, 223, 1194, 1198; the Wage Order)

 8           102.     Plaintiffs and Proposed Class incorporate by reference all of the allegations

 9   contained in the preceding paragraphs as though fully set forth herein.

10           103.     Labor Code sections 201, 202, 203, 204, 216, 218, 221, 223, 1194 and 1198,

11   together with the Wage Order and the common law, provide that employees have an immediate

12   and vested right to receive agreed wages for work they were engaged, suffered and permitted

13   to perform.

14           104.     Throughout the Class Period, as a result of uniform policies maintained and

15   enforced by Defendants, the object and/or foreseeable consequence of which were to deny such

16   wages to Plaintiffs and the Proposed Class, Defendants employed Plaintiffs and Proposed Class

17   at agreed wages and refused to pay such wages to Plaintiffs and Proposed Class for all hours

18   they worked by a multitude of unlawful practices.

19           105.     Defendants at all times knew or had reason to know that Plaintiffs and the

20   Proposed Class were performing the aforementioned work without pay and that the practices

21   referenced above deprived Plaintiffs and the Proposed Class of wages for work performed by

22   them.

23           106.     At all times herein alleged, Labor Code section 223 provided, in relevant part:

24   “where any … contract requires an employer to maintain the designated wage scale, it shall be

25   unlawful to secretly pay a lower wage while purporting to pay the wage designed by …

26   contract.” At all times herein alleged, Plaintiffs and Defendants were parties to an employment

27   contract pursuant to which they had agreed Plaintiffs were to be paid a designated wage scale,

28   which included but was not limited to the payment of wages for each hour worked as required

     {7608/002/00556569.DOCX}                        23
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 24 of 37



 1   by the Labor Code and the Wage Order. By repeatedly and consistently failing to pay regular

 2   wages at the agreed wage scale as required by the Labor Code and the Wage Order, as

 3   elsewhere alleged herein, Defendants violated Labor Code section 223, depriving Plaintiffs and

 4   Proposed Class payment of wages according to the agreed wage scale.

 5           107.     Pursuant to Labor Code section 216, Defendants are guilty of a misdemeanor

 6   for willfully refusing “to pay wages due and payable after demand has been made.”

 7           108.     Defendants continually failed and refused to pay to Plaintiffs and Proposed

 8   Class all wages earned, despite demands being made.

 9           109.     Pursuant to Labor Code section 225.5, an employer who unlawfully withholds

10   wages due to an employee in violation of section 216 shall be subject to a civil penalty. One

11   hundred dollars ($100) is assessed for the initial violation for each failure to pay each

12   employee, and two hundred dollars ($200) for each subsequent violation, in addition to 25

13   percent of the amount unlawfully withheld.

14           110.     As a direct and proximate result of Defendants’ willful refusal to pay all wages

15   due to Plaintiffs and Proposed Class, Defendants are liable for wages owing and unpaid, with

16   interest thereon, and for penalties under Labor Code section 225.5.

17           111.     WHEREFORE, Plaintiffs and Proposed Class request relief as herein prayed

18   for.

19                                    SIXTH CAUSE OF ACTION

20                                (Violation of Labor Code Section 216)

21           112.     Plaintiffs and Proposed Class hereby incorporate the preceding paragraphs of

22   this Complaint as if fully alleged herein.

23           113.     Pursuant to Labor Code section 216, Defendants are guilty of a misdemeanor

24   for willfully refusing “to pay wages due and payable after demand has been made.”

25           114.     Defendants continually shorted Plaintiffs and Proposed Class and refused to pay

26   them all their wages earned despite demands being made.

27           115.     Pursuant to Labor Code section 225.5, an employer who unlawfully withholds

28   wages due to an employee in violation of section 216 shall be subject to a civil penalty. One

     {7608/002/00556569.DOCX}                        24
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 25 of 37



 1   hundred dollars ($100) is assessed for the initial violation for each failure to pay each

 2   employee, and two hundred dollars ($200) for each subsequent violation, in addition to 25

 3   percent of the amount unlawfully withheld.

 4           116.     As a direct and proximate result of Defendants’ willful refusal to pay all wages

 5   due to Plaintiffs and Proposed Class, Defendants are liable for penalties under California Labor

 6   Code section 225.5.

 7           117.     WHEREFORE, Plaintiffs and Proposed Class request relief as described below.

 8                                   SEVENTH CAUSE OF ACTION

 9           (Failure to Pay Wages in Violation of Labor Code Sections 201, 202 and 203)

10           118.     Plaintiffs, on behalf of themselves and the Proposed Class, reallege and

11   incorporate by reference all previous paragraphs.

12           119.     Pursuant to Labor code section 201 and 202, if an employer discharges and

13   employee, the wages earned and unpaid at the time of discharge are due and payable

14   immediately, and if an employee quits his or her employment, his or her wages shall become

15   due and payable not later than seventy-two (72) hours thereafter, unless the employee has

16   given seventy-two (72) hours notice of his or her intention to quit, in which case the employee

17   is entitled to his or her wages at the time of quitting.

18           120.     Plaintiffs and Proposed Class members have separated from employment with

19   Defendants without being paid wages due to them within the time required by Labor Code

20   sections 201 and 202.

21           121.     During the relevant time period, Defendant’s intentionally and willfully failed to

22   pay Plaintiffs and other class members their wages, earned and unpaid, within seventy-two (72)

23   hours of Plaintiff and Proposed Class members leaving Defendant’s employ.

24           122.      Pursuant to Labor Code section 203, if an employer willfully fails to pay,

25   without abatement or reduction, in accordance with sections 201 and 202, any wages of an

26   employee who is discharged or who quits, the wages of the employee shall continue as a

27   penalty from the due date thereof at the same rate until paid or until n action is commenced;

28   but the wages shall not continue for more than thirty (30) days.

     {7608/002/00556569.DOCX}                          25
                                            CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 26 of 37



 1            123.    Failure to pay wages, as alleged above, was willful in that Defendant knew

 2   wages to be due based on the Customer Service Representative I personnel’s “directly related

 3   clerical job experience’ but failed to pay them, thus entitled Proposed Class members to

 4   penalties under Labor Code section 203, which provides that an employee’s wages shall

 5   continue as a penalties until paid for a period of up to thirty (30) days from the time when they

 6   were due

 7            124.    Defendant has failed to pay Proposed Class members a sum certain at the time

 8   of termination or within seventy-two (72) hours of their resignation, and have failed to pay

 9   those sums for thirty (30) days thereafter. Pursuant to Labor Code section 203, members of the

10   Proposed Class who were terminated or resigned as Customer Service Representative I

11   personnel are is entitled to a penalty in the amount of Proposed Class members’ daily wage

12   multiplied by thirty (30) days together with interest thereon and reasonable attorney’s fees and

13   costs.

14                                   EIGHTH CAUSE OF ACTION

15                 (Knowing and Intentional Failure to Comply with Itemized
           Employee Wage Statement Provisions – California Labor Code Sections 226(a),
16                             1174 and 1175; the Wage Order)

17
18            125.    Plaintiffs and Proposed Class hereby incorporate the preceding paragraphs of

19   this Complaint as if fully alleged herein.

20            126.    California Labor Code section 226(a) and the Wage Order requires Defendants

21   to itemize in wage statements all deductions from payment of wages and to accurately report

22   total hours worked by Plaintiffs and Proposed Class and keep the records on file at the place of

23   employment or at a central location within the State of California. Defendants have knowingly

24   and intentionally failed to comply with California Labor Code section 226(a) and the Wage

25   Order with respect to wage statements they have provided to Plaintiffs and Proposed Class.

26            127.    California Labor Code section 1174 and the Wage Order require Defendants to

27   maintain and preserve, at the place of employment or at a central location within the State of

28   California, among other items, accurate records showing the names and addresses of all

     {7608/002/00556569.DOCX}                        26
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 27 of 37



 1   employees employed, payroll records accurately showing the hours worked daily and the

 2   wages paid to its employees. Defendants have knowingly and intentionally failed to comply

 3   with these requirements in violation of California Labor Code sections 1174 and 1175 and the

 4   Wage Order.

 5           128.     California Labor Code section 226(a) and the Wage Order provides that every

 6   employer shall, semimonthly or at the time of each payment of wages, furnish each of its

 7   employees an accurate itemized statement in writing showing gross wages earned, total hours

 8   worked by the employee, all deductions, net wages earned, the inclusive dates of the period for

 9   which the employee is paid, the name of the employee and the employee’s social security

10   number (or an employee identification number), the name and address of the legal entity that is

11   the employer and all applicable hourly rates in effect during the pay period and the

12   corresponding numbers of hours worked at each hourly rate by the employee. California Labor

13   Code section 226(a) mandates that deductions made from payments of wages shall be recorded

14   in ink, properly dated and a copy of the statement or a record of deductions to be kept on file

15   by the employer for at least three years. Moreover, the Wage Order requires Defendants to

16   maintain time records for each employee showing, including but not limited to, when the

17   employee begins and ends each work period, meal periods, and total daily hours worked in

18   itemized wage statements, and must show all deductions from payment of wages, and

19   accurately report total hours worked by Plaintiffs and the Proposed Class.

20           129.     During the Class Period, Defendants have regularly and consistently, knowingly

21   and intentionally, failed to provide Plaintiffs and Proposed Class with complete and accurate

22   wage statements. The deficiencies include, among other things, the failure to list all applicable

23   hourly rates, the failure to include the inclusive dates for the period worked by Plaintiffs and

24   the Proposed Class alleged herein, and the failure to accurately report the gross and net

25   earnings of the Plaintiffs and Proposed Class.

26           130.     California Labor Code section 1174 and the Wage Order require Defendants to

27   maintain and preserve, at the place of employment or a central location within the state of

28   California, among other items, accurate records showing the names and addresses of all

     {7608/002/00556569.DOCX}                         27
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 28 of 37



 1   employees employed, payroll records accurately showing the hours worked daily and the

 2   wages paid to their employees. Defendants have knowingly and intentionally failed to comply

 3   with these requirements in violation of Labor Code sections 1174 and 1175 and the Wage

 4   Order.

 5            131.    Labor Code section 226(a) and the Wage Order provide that every employer

 6   shall, semimonthly or at the time of each payment of wages, furnish each of its employees an

 7   accurate itemized statement in writing showing gross wages earned, total hours worked by the

 8   employee, all deductions, net wages earned, the inclusive dates of the period for which the

 9   employee is paid, the name of the employee and the employee’s social security number (or an

10   employee identification number), the name and address of the legal entity that is the employer

11   and all applicable hourly rates in effect during the pay period and the corresponding numbers

12   of hours worked at each hourly rate by the employee. Labor Code section 226(a) mandates

13   that deductions made from payments of wages shall be recorded in ink, properly dated and a

14   copy of the statement or a record of deductions to be kept on file by the employer for at least

15   three years. Moreover, the Wage Order requires Defendants to maintain time records for each

16   employee showing, including but not limited to, when the employee begins and ends each

17   work period, and total daily hours worked in itemized wage statements, and must show all

18   deductions from payment of wages, and accurately report total hours worked by Plaintiffs and

19   Proposed class.

20            132.    Throughout the Class Period Defendants have knowingly and intentionally

21   failed to provide Plaintiffs and Proposed Class with complete and accurate wage statements.

22   The deficiencies include, among other things, failure to include complete and accurate

23   information on the following: (1) gross wages earned; (2) all deductions from Plaintiffs and

24   Proposed Class’ wages; (3) Plaintiffs and Proposed Class’ net wages earned; (4) the inclusive

25   dates of the period for which Plaintiffs and Proposed Class were paid; (5) Plaintiffs and

26   Proposed Class’ names and the last four digits of their social security number or an employee

27   identification number other than a social security number; (6) the name and address of the legal

28   entity that is the employer; and (7) all applicable hourly rates in effect during the pay period

     {7608/002/00556569.DOCX}                       28
                                         CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 29 of 37



 1   and the corresponding number of hours worked at each hourly rate by the Plaintiffs and

 2   Proposed Class.

 3           133.     As a result of Defendants’ violations of California Labor Code sections 226(a),

 4   1174 and 1175, as well as the Wage Order, Plaintiffs and Proposed Class have suffered injury

 5   and damage to their statutorily-protected rights. These injuries and damages include, but are

 6   not limited to, the denial of their legal right to receive and the protected interest in receiving

 7   accurate, itemized wage statements under California Labor Code section 226(a). Moreover,

 8   the inaccurate and incomplete wage statements provided by Defendants deceived Plaintiffs and

 9   Proposed Class about the wages and other compensation to which they were entitled and

10   deprived them of such wages and compensation. As a further result of Defendants’ failure to

11   provide Plaintiffs and Proposed Class with accurate wage statement in accordance with

12   California Labor Code section 226 and to keep accurate time records as required by the Wage

13   Order, Plaintiffs and Proposed Class have suffered injuries and are entitled to penalties under

14   California Labor Code section 226 and California Labor Code section 226.3 which states that

15   any employer who violates California Labor Code section 226 shall be subject to a civil

16   penalty in the amount of two hundred fifty dollars ($250) per employee per violation in an

17   initial citation. The civil penalty provided for in this section is in addition to any other penalty

18   provided by law, in an amount to be proven at trial. The injuries suffered by Plaintiffs and

19   Proposed Class include, but are not limited to, having been, and continuing to be, forced to

20   conduct investigations and perform mathematical computations in an attempt to reconstruct

21   their time records; the inability to reconstruct their time records; the inability to discern the

22   amount of wages they had earned and/or the applicable wage rate; the inability to determine the

23   number of hours they had worked; the inability to determine whether they were paid all wages

24   due for work they performed; the inability to determine the amount of wages owing and

25   unpaid; and having been, and continuing to be, forced to hire attorneys and initiate a lawsuit in

26   order to ascertain the aforementioned information.

27   ///

28   ///

     {7608/002/00556569.DOCX}                         29
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 30 of 37



 1           134.     Plaintiffs and Proposed Class are entitled to recover from Defendants the greater

 2   of their actual damages caused by Defendants’ failure to comply with California Labor Code

 3   section 226(a), or an aggregate penalty not exceeding $4,000.00 per employee.

 4           135.     Pursuant to California Labor Code section 226(e), each employee suffering

 5   injury as a result of knowing and intentional failure by an employer to comply with California

 6   Labor Code section 226(a) is entitled to recover the greater of all actual damages or $50.00 for

 7   the initial pay period in which a violation occurs and $100.00 per employee for each violation

 8   in a subsequent pay period, not exceeding an aggregate penalty of $4,000.00, and is entitled to

 9   an award of costs and reasonable attorneys’ fees. Moreover, an employee is entitled under the

10   California Labor Code section 226(g) to injunctive relief to ensure compliance with California

11   Labor Code section 226 and is entitled to an award of costs and reasonable attorneys’ fees.

12           136.     Pursuant to California Labor Code section 2699(f) and (g), Plaintiffs and

13   Proposed Class, as well as all aggrieved employees, are entitled to recover civil penalties in the

14   amount of $100.00 for each aggrieved employee per pay period for the initial violation and

15   $200.00 for each aggrieved employee per pay period for each subsequent violation, plus costs

16   and attorneys’ fees, for violations of Labor Code section 226.

17           137.     WHEREFORE, Plaintiffs and Proposed Class request relief as hereinafter

18   prayed for.

19                                    NINTH CAUSE OF ACTION

20                  (Promissory Fraud in Violation of California Civil Code § 1572(4))

21           138.     Plaintiffs, on behalf of themselves and the Proposed Class, reallege and

22   incorporate by reference all previous paragraphs.

23           139.     In November and December 2014, Defendant, via email, notified all Plaintiffs

24   that their resumes were to be reviewed and that those Customer Service Representative I

25   personnel with prior “directly related clerical job experience” would receive settlement

26   payouts. Defendant made identical, material misrepresentations to each Plaintiff and Proposed

27   Class member.

28   ///

     {7608/002/00556569.DOCX}                         30
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 31 of 37



 1           140.     Upon information and belief, Defendant made this representation to Plaintiffs

 2   and the Proposed class knowing that it had already preselected which Customer Service

 3   Representative I personnel it would award the settlement payout to based on a predetermined

 4   dollar amount it would altogether award based on the misclassification of its employees

 5           141.     In justifiable reliance on Defendants identical and material misrepresentation,

 6   Plaintiffs and Proposed Class members, and each of them, were induced to, and did continue

 7   working as Customer Service Representative I’s. Additionally, Plaintiffs and Proposed Class

 8   members, and each of them, were induced to submit resume’s to PG&E so that they could be

 9   reviewed for directly related clerical job experience in accordance with the IBEW Collective

10   Bargaining Agreement.

11           142.     As a direct and proximate result of the foregoing, the Plaintiffs and Proposed

12   Class have suffered and will continue to suffer damages in an amount in excess of the

13   jurisdictional minimum of this Court and according to proof at trial.

14                                    TENTH CAUSE OF ACTION

15                                        (Promissory Estoppel)

16           143.     Plaintiffs, on behalf of themselves and the Proposed Class, reallege and

17   incorporate by reference all previous paragraphs.

18           144.     Defendant made a clear promise to Plaintiffs and Proposed Class that it would

19   pay them the wages they were due after the November 2013 grievance clarified that

20   Defendants had misclassified its employees. Defendant’s agent, Scott Sanford, promised

21   Plaintiffs and Proposed Class that Defendant would review their resumes to determine their

22   eligibility for the settlement payout in December 2014.

23           145.     Plaintiffs and Proposed Class members still employed at that time justifiably

24   and actually relied on Defendant’s representations by remaining at their jobs and submitting

25   resumes to be reviewed for directly related clerical job experience in accordance with the

26   IBEW Collective Bargaining Agreement. In addition, Plaintiffs and Proposed Class Members,

27   based on PG&E’s clear promise that those who had directly related clerical job experience

28   ///

     {7608/002/00556569.DOCX}                        31
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 32 of 37



 1   would receive settlements, were induced to not submit grievances under the IBEW Collective

 2   Bargaining Agreement.

 3           146.     As a direct and proximate result of the foregoing, the Plaintiffs and Proposed

 4   Class have suffered and will continue to suffer damages in an amount in excess of the

 5   jurisdictional minimum of this Court and according to proof at trial.

 6                                  ELEVENTH CAUSE OF ACTION

 7                      (Violation of Business and Professions Code § 17200 et seq.)

 8           147.     Plaintiffs, on behalf of themselves and the Proposed Class reallege and

 9   incorporate by reference all previous paragraphs.

10           148.     This is a Class Action for Unfair Business Practices. Plaintiffs on behalf of

11   themselves, on behalf of the general public, and on behalf of the Proposed Class, bring this

12   claim pursuant to Business & Professions Code section 17200, et seq.           The conduct of

13   Defendants as alleged in this Complaint has been and continues to be unfair, unlawful, and

14   harmful to Plaintiffs, the general public, and the Proposed Class. Plaintiffs seek to enforce

15   important rights affecting the public interest within the meaning of Code of Civil Procedure

16   section 1021.5.

17           149.     Plaintiffs and Proposed Class are “persons” within the meaning of Business &

18   Professions Code section 17204, and therefore have standing to bring this cause of action for

19   restitution and other appropriate equitable relief.

20           150.     Business & Professions Code section 17200, et seq. prohibits unlawful and

21   unfair business practices. Business & Professions Code section 17200 applies to unfair

22   competition, which is to be construed broadly to enjoin wrongful business conduct towards to

23   public and competitors.

24           151.     Business & Professions Code section 17200 prohibits “unfair, deceptive, untrue

25   or misleading advertising.” Here, Defendant advertised the position for Customer Service

26   Representative I on its website and represented to Plaintiff, Proposed Class members, and the

27   public at large that it would pay those individuals whom it hired for that position $23.88.

28   ///

     {7608/002/00556569.DOCX}                         32
                                           CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 33 of 37



 1   Defendant’s activities as alleged herein are violations of California law, and constitute

 2   unlawful business acts and practices in violation of California Business & Professions Code

 3   section 17200 et seq.

 4           152.     A violation of California Business and Professions Code section 17200 et seq.,

 5   may be predicated on the violation of any state of federal law. As described herein, Defendant

 6   violated California Labor Code sections 201, 202, 203, and 204, and has engaged in other acts

 7   of unlawful competition.

 8           153.     Specifically, Defendant    had no     intention to pay Customer Service

 9   Representative I personnel $23.88 and subsequently reneged on that advertisement at the time

10   of making Plaintiff and Propose Class members their offers of employment.

11           154.     As a result of Defendant’s intentional actions, Plaintiff, Proposed Class

12   members, and all applicants, numbering in the thousands, relied on Defendant’s advertisement

13   and applied for the Customer Service Representative I position.

14           155.     California’s wage and hour laws express fundamental public policies.

15   Providing employees with proper wages and compensation are fundamental public policies of

16   this State and of the United States. Labor Code section 90.5(a) articulates the public policies

17   of this State to enforce vigorously minimum labor standards, to ensure that employees are not

18   required or permitted to work under substandard and unlawful conditions, and to protect law-

19   abiding employers and their employees from competitors who lower their costs by failing to

20   comply with minimum labor standards.

21           156.     Defendant has violated statutes and public policies as alleged herein. Through

22   the conduct alleged in this Complaint, Defendant has acted contrary to these public policies,

23   has violated specific provisions of the Labor Code, and has engaged in other unlawful and

24   unfair business practices in violation of Business & Profession Code section 17200, et seq.,

25   depriving Plaintiffs, and all persons similarly situated, and all interested persons of rights,

26   benefits, and privileges guaranteed to all employees under law.

27   ///

28   ///

     {7608/002/00556569.DOCX}                        33
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 34 of 37



 1           157.     Defendant, by engaging in the conduct herein alleged, either knew or in the

 2   exercise of reasonable care, should have known that the conduct was unlawful. As such it is a

 3   violation of Section 17200 et seq. of the Business & Professions Code.

 4           158.     As an additional proximate result of the above-mentioned acts of Defendant’s

 5   unfair business practices, Defendant has reaped unfair benefits and improper profits at the

 6   expense of Plaintiffs, the Proposed Class, and members of the public and Plaintiffs and others

 7   similarly situated have been damaged in a sum as may be proven.

 8           159.     Pursuant to the Business & Professions Code, Plaintiffs and members of the

 9   Proposed Class are entitled to restitution and disgorgement of profits by Defendant based on

10   Defendants’ failure to pay all wages and overtime owed to Plaintiffs.

11           160.     Pursuant to California Business and Professions Code section 17200 et seq.,

12   injunctive relief is necessary to prevent Defendant from continuing to engage in the unfair

13   business practices as alleged herein. Plaintiff is informed and believes that defendants have

14   committed and will continue to commit the above-described unlawful acts unless restrained or

15   enjoined by this Court. Unless relief prayed for below is granted, a multiplicity of actions will

16   result. Plaintiff and the Proposed Class have no plain, speedy, or adequate remedy at law, in

17   that pecuniary compensation alone would not afford adequate and complete relief. The above-

18   described acts will cause great and irreparable harm to Plaintiff and the Proposed Class unless

19   Defendant is restrained from committing further illegal acts.

20                                                    V.

21                                        PRAYER FOR RELIEF

22           WHEREFORE Plaintiffs, their behalf and on behalf of all others similarly situated,

23   prays for relief and judgment against Defendant as follows:

24           1.       That this action be certified as a class action and that each subclass identified

25   herein be certified;

26           2.       That Plaintiffs Becky Greer, Timothy C. Budnik, Rosario Saenz and Ian Carty

27   be appointed as the representatives of all the Proposed Class and subclasses;

28           3.       That counsel for Plaintiffs be appointed as class counsel;

     {7608/002/00556569.DOCX}                         34
                                            CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 35 of 37



 1           4.       For general and special damages according to proof;

 2           5.       For a declaration that Defendant is required to pay Plaintiffs and the Proposed

 3   Class backpay in amounts subject to proof at trial;

 4           6.       For actual, consequential and incidental losses and damages, according to proof;

 5           7.       For compensatory damages in the amount of unpaid wages and/or overtime not

 6   paid to Plaintiffs and each other Proposed Class Member from at least four (4) years prior to

 7   the filing of this action to the present as may be proven;

 8           8.       For compensatory damages in the amount of Plaintiffs’ and each Proposed Class

 9   Members’ hourly wage for each meal period/rest period missed or taken late during the

10   liability period as may be proven;

11           9.       For all civil penalties and reasonable attorneys’ fees and costs of suit pursuant to

12   Labor Code sections 210, 211, 218.5, 558, 1194 and 1197.1;

13           10.      For statutory penalties pursuant to California Labor Code section 203 for

14   Plaintiffs and the Proposed Class who have left Defendant’s employ equal to their daily wage

15   times thirty (30) days;

16           11.      For restitution of unpaid wages and other monies wrongfully withheld and

17   retained by Defendant to Plaintiff and the Proposed Class and prejudgment interest from the

18   day such amount were due and payable;

19           12.      For reasonable attorneys’ fees and costs of suit uncured herein that Plaintiff and

20   other class members are entitled to recover under California Code of Civil Procedure section

21   1021.5;

22           13.      For injunctive relief to ensure compliance with this section, pursuant to

23   California Business and Professions Code section 17200 et seq.

24           14.      An award of prejudgment and post judgment interest;

25           15.      That the Court declare, adjudge and decree that Defendants violated California

26   Labor Code sections 510, 1194, 1197 and 1198, and the Wage Order by willfully failing to pay

27   minimum wages to Plaintiffs and Proposed Class;

28   ///

     {7608/002/00556569.DOCX}                          35
                                            CLASS ACTION COMPLAINT
       Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 36 of 37



 1           16.      For all civil penalties and reasonable attorneys’ fees and costs of suit incurred

 2   herein pursuant to California Labor Code sections 218.5, 218.6, 558, 1194, 1194.2, 1197, and

 3   1199;

 4           17.      That the Court declare, adjudge and decree that Defendants violated the record

 5   keeping provisions of California Labor Code section 226(a) and the Wage Order as to

 6   Plaintiffs and Proposed Class and that Defendants knowingly and intentionally failed to

 7   provide accurate itemized wage statements to Plaintiffs and Proposed Class.

 8           18.      For statutory penalties pursuant to California Labor Code section 226(e);

 9           19.      For injunctive relief to ensure compliance with Labor Code section 226(a),

10   pursuant to California Labor Code section 226(g);

11           20.      That the Court declare, adjudge and decree that Defendants violated California

12   Labor Code sections 201, 201.3, 202, 203, 204 and 1198 and the Wage Order by willfully

13   failing to pay all compensation owed at the time of Plaintiffs’ and Proposed Class’ termination

14   of employment and, while Plaintiff and Proposed Class were employed by Defendants,

15   willfully failing to timely pay all compensation owed;

16           21.      For statutory wage penalties in favor of Plaintiff and Proposed Class pursuant to

17   California Labor Code sections 203, 204, and 210;

18           22.      That the Court declare, adjudge and decree that Defendants violated Business &

19   Professions Code section 17200, et seq., as a consequence of their failure to pay agreed wages

20   and compensation for work, failure to pay at least minimum wage, failure to provide accurate

21   wage statements, failure to timely pay wages to employees, failure to timely pay wages to

22   employees upon resignation or termination, failure to pay all wages earned, failure to pay

23   reporting time premiums, and failure to reimburse necessary expenditures or losses incurred in

24   direct consequence of the discharge of employees’ duties.

25           23.      For restitution of unpaid wages to Plaintiffs and Proposed Class, and for

26   prejudgment interest from the day such amounts were due and payable;

27   ///

28   ///

     {7608/002/00556569.DOCX}                         36
                                           CLASS ACTION COMPLAINT
      Case 1:15-cv-01066-EPG Document 1 Filed 07/10/15 Page 37 of 37



 1           24.      For the appointment of a Receiver to receive, manage and distribute any and all

 2   funds disgorged from Defendants and determined to have been wrongfully acquired by

 3   Defendants as a result of violation of Business & Professions Code section 17200, et seq.;

 4           25.      For reasonable attorneys’ fees and costs of suit incurred herein pursuant to Code

 5   of Civil Procedure section 1021.5;

 6           26.      For injunctive relief to ensure compliance with this section, pursuant to

 7   Business & Professions Code section 17200, et seq.; and

 8           27.      Such other and further relief as this Court may deem proper and just.

 9                                                    VI.

10                                    DEMAND FOR JURY TRIAL

11           Plaintiff hereby demands a jury trial with respect to all issues triable of right by jury.

12
13   DATED: July 10, 2015                           WANGER JONES HELSLEY PC
14
15                                                  By: /s/ Patrick D. Toole ____________________
                                                       Michael S. Helsley,
16
                                                       Patrick D. Toole,
17                                                     Dylan J. Crosby
                                                       Attorneys for Plaintiffs
18
19
20
21
22
23
24
25
26
27
28
     {7608/002/00556569.DOCX}                         37
                                            CLASS ACTION COMPLAINT
